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SIE RB Cc : * Tadd W. Schnell
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November 15, 2007

VIA FACSIMILE (949-716-0606) & U.S. MATL
Ms. Kari M. Myron

Law Office of Kari M. Myron
22972 Mill Creek Drive
Laguna Hills, CA 92653

Re: Steven Benhayon
Dear Ms. Myron:

This correspondence is sent in response to your letter of November 9, 2007, to
Mr. Argyle Burke and Ms. Tracy McDonald. | RBC has carefully reviewed your
correspondence and the circumstances surrounding Mr. Benhayon’s termination from
employment.

I appreciate the effort you have undertaken to describe Mr. Benhayon’s
performance for RBC for the past five years, but I hope you understand that the decision
to terminate his employment stemmed from the decision to entirely eliminate certain of
RBC’s business operations in the San Francisco area. You properly acknowledged that
no severance payment was required, but RBC did decide to provide exiting employees
with severance pay to ease their transition out of the organization land to provide them
resources to assist in obtaining future employment. While RBC believed it was being
generous. in the offers it extended, I am sorry that Mr. Bephayon does not have a similar
view.

Mr. Benhayon was provided severance consistent with other employees offered
the severance plan and consistent with RBC’s past practice. Further, the terms of the
Wealth Accumulation Plan do not provide for the accelerated vesting of employer

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Ms, Kari M. Myron
November 15, 2007

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contributions that you seek. Accordingly, we are unable to increaseithe severance offered:

from that identified in the original letter to Mr. Benhayon. Mr. Benhayon’s period to
accept this severance offer remains open through December 2, 2007:

Til
‘odd W. Schnell

Cc: Mr. Argyle Burke
Ms, Tracy McDonald

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